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 8                                  UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          No. 2:08-cr-00376 WBS AC
12                       Respondent,
13            v.                                        ORDER
14   LEONARD E. WILLIAMS,
15                       Movant.
16

17            Movant is a federal prisoner incarcerated in the United States Penitentiary in Lompc,

18   California. Movant proceeds without counsel with a motion to vacate, set aside, or correct his

19   sentence pursuant to 28 U.S.C. § 2255. See ECF No. 645.

20            Since movant may be entitled to the requested relief if he can establish a violation of his

21   constitutional rights, respondent is directed to file an answer within thirty days after the effective

22   date of this order. See Rule 4, Rules Governing Section 2255 Proceedings. Respondent shall

23   include with the answer any and all transcripts or other documents relevant to the determination

24   of the issues presented in the motion. See Rule 5, Rules Governing Section 2255 Proceedings.

25   Movant’s traverse, if any, is due on or before thirty days from the date respondent’s answer is

26   filed.

27            If respondent files a motion to dismiss rather than an answer, movant’s opposition or

28   statement of non-opposition to the motion shall be filed and served within thirty days after service
                                                        1
     Case 2:08-cr-00376-WBS-AC Document 647 Filed 04/27/18 Page 2 of 2


 1   of the motion, and respondent’s reply, if any, shall be filed and served within fourteen days
 2   thereafter.
 3           The Clerk of the Court is directed to serve a copy of this order, together with a copy of
 4   movant’s motion, on the United States Attorney or his authorized representative.
 5           SO ORDERED.
 6   DATED: April 26, 2018
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